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  1    Call Date: 10/25/2018

  2    Call Duration: 06:06

  3    Call Begin: 18:03:21

  4    Participants:

  5         RICK SINGER

  6         GAMAL ABDELAZIZ

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  9

 10    ABDELAZIZ:      Rick.

 11    SINGER:         Gamal, tell me something good.

 12    ABDELAZIZ:      Uh, [laughter] Sabrina's loving USC. Thank you

 13                    so much. How are you doing?

 14    SINGER:         I'm -- I'm living life like you, big guy.

 15    ABDELAZIZ:   [laughter] It's good to hear from you.

 16    SINGER:         [OV] Doing well.

 17    ABDELAZIZ:   [OV] How can I be of help, my friend?

 18    SINGER:      Well, I - what I want to do is I want to just

 19                 one, I wanted to find out -- I'm sure she's

 20                    doing great 'cause everybody loves it. Have you

 21                 - did you guys go to parents weekend last                    ,1
 22                    weekend or 2 weekends ago?

 23    ABDELAZIZ:      Yes, we did. We loved it. We absolutely loved

- 24                it. Got to meet a lot of people.




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1     SINGER:      And has Adam been on campus yet to see Sabrina?

2     ABDELAZIZ:   He has not. He's got his own universe, uh,

3                  Rick, as you know.

4     SINGER:      [laughter]   OK.    Are you still funding the

5                   universe?

6     ABDELAZIZ:   Uh, you know, I have not because Adam has been

7                  in and out of the school, um, because -You

8                  know, you're talking about Columbia?

9     SINGER:      Yeah.

10    ABDELAZIZ:   Yeah. He's been out more than he's been in.

11                 I've had, uh, uh, somewhat of a challenge with

12                 Adam. He came up with an idea and

13                 unfortunately I was too busy in China and he

14                 didn't follow through on it and we ended up-

15                 he ended up, according to him, losing a

16                 $1,000,000,000 company. So -

17    SINGER:      OK. Wow. We'll see—[OV]

18    ABDELAZIZ:   Uh, I know it's -- I know it's hard to digest

19                 but he came up with an idea that Facebook has

20                 acquired for -- about 3 or 4 years ago he came

21                 up with an idea. I had just landed in China. We

22                 didn't have time to discuss it. And he claims,

23                 and I know he's not making up stuff, that it's

24                  now worth a lot of money. So we are -[OV]




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1      SINGER:      OK.

2      ABDELAZIZ:   -- we've got, we've got a challenge with him. I

3                   need to get him to realize that life has many,

4                   you know, uh, setbacks and he needs to learn to

5                   just dust himself off and start all over.   But,

6                   uh, he's stuck a little bit.

7      SINGER:      OK. Well, I'm sorry to hear that.

8      ABDELAZIZ:   Yeah, yeah. He's -- he's in college.

9      SINGER:      [OV] So --

10     ABDELAZIZ:    And he's -- he's taking his exams and he's

11                   doing his thing.

12     SINGER:       OK, OK. Well, cool. Well, I'm in Boston. It's

13                  freezing here.

14     ABDELAZIZ:    Oh, I'm sure. Yeah.

15     SINGER:       I just -- I had to go out and buy a jacket

16                   today.

17     ABDELAZIZ:    Oh, my God. Yeah. My team was there and they

18                   were watching the game last night and they

19                   were telling me they were freezing their butt

20                   off.

21     SINGER:       Oh, absolutely. Absolutely. So the reason for

22                   my call is I just wanted to make sure that

23                    you knew. So my foundation, which happens to

24                    all these foundations, especially as we got -




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1                    we've gotten bigger. So we're getting audited

2                    right now.

3      ABDELAZIZ:    Yes.

4      SINGER:       So -- which is typical, right.And so they're

5                   looking at all my payments --

6      ABDELAZIZ:    Yes.

7      SINGER:       - that have come into our foundation and so

8                   they asked me, you know, about the $300,000

9                    payment, um-

10     ABDELAZIZ:    Yes.

11     SINGER:       -- that was made.

12     ABDELAZIZ:    Yes.

13     SINGER:       And so I just want you to know from the IRS,

14                   you know, I'm not going to tell the IRS

15                   anything about the fact that your $300,000,

16                   um, was paid to Donna -- Donna Heinel at USC

17                   to get Sabrina into school even though she

18                   wasn't a legitimate basketball player at that

19                   level. So I'm not gonna -- I'm not going to

20                   say that to the IRS obviously. You're --

21     ABDELAZIZ:    [DV] OK.

22     SINGER:       You're OK with that, right?

23     ABDELAZIZ:    Of course.

24     SINGER:       OK. I just - I just wanna make sure. I never




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1                    know with families, right. But here's the

2                    funny thing--

3      ABDELAZIZ:    [OV] No, I -- I mean, I -- you know, I mean,

4                    I -I -- my intention was to, uh, donate the

5                    money to the foundation and, uh, what - you

6                    know, and then from there obviously, uh- I

7                    don't think- Uh, do they have the intention

8                    of reaching out to the people that sent those

9                    payments? Is that what you're saying?

10     SINGER:      Uh, I don't know. You know, we have hundreds

11                  and hundreds of 'em.

12     ABDELAZIZ:   Yeah.

13     SINGER:      And I'm just in the point where I just - you

14                  know, the way I am, I just want to make sure

15                  everybody's aware. I wanted to make sure our

16                  stories are correct.

17     ABDELAZIZ:   But -- but Rick, you're -- you're a friend.

18                  You've been a friend of my family for many

19                  years. Is there anything I can do to help?

20                  Uh, I'm just-

21     SINGER:      [CV] Well, no.      No. You -- I'm in great shape.

22                  So what -

23     ABDELAZIZ:   Good.

24     SINGER:      What I want -- but I just want to make sure -




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1                   our books are great. Everything's great. But,

2                   you know, when you deal with the IRS, you

3                   never know where they're going to go. But I'll

4                   tell you -

5      ABDELAZIZ:   Absolutely.

6      SINGER:      I'll tell ya a funny story. Is that Donna

7                   Heinel, who is the senior women's

8                    administrator, she actually called me and

9                    said -- sorry, I'm in a - a hotel right

10                   now and they're doing a fire alarm.

11     ABDELAZIZ:    Yeah.

12     SINGER:       Uh, they -- she called me and says, 'Hey,

13                   Rick, that profile that you did for Sabrina,

14                   I loved it. It was really well done and going

15                   forward, anybody who isn't a real basketball

16                   player that's a female, I want you to use

17                   that profile going forward."

18     ABDELAZIZ:    I love it.

19     SINGER:       But -- yeah, it was great. Absolutely great.

20                   So I just want to make sure our stories are

21                  together. I'm going to essentially say that

22                   your $300,000 payment, um, was made to our

23                   foundation to help underserved kids.

24     ABDELAZIZ:    OK.




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1    SINGER:       And we should be in good shape. I just wanted

2                   to make sure you're OK with that, too.

3    ABDELAZIZ:     I am.

4    SINGER:        OK. Terrific. And if there's anything else I

5                   can do for you, just let me know.

6    ABDELAZIZ:     Rick, I appreciate it, as always, and, uh,

7                   you know, if you ever have the time for a

8                   quick call to Adam, I would really appreciate

9                   it. He loves you and looks up to you and,

10                   uh, I think this is a moment were you to

11                   reach out for 5 minutes to the kid, uh, I

12                   think he would appreciate it.

13   SINGER:        I - I'll do that. I'll do that this weekend.

14   ABDELAZIZ:      I - I - I'll text you his number in case

15                   you have time this weekend.

16   SINGER:        OK, I appreciate that. I'll do that.

17   ABDELAZIZ:      Thank you, Rick. Take care.

18   SINGER:        OK. Take care of yourself. All right, buh-

19                   bye.

20   ABDELAZIZ:      Bye. Bye.

21                          END OF AUDIO FILE




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